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                             UNITED STATES DISTRICT COURT
                         DISTRICT OF IDAHO (NORTHERN DIVISION)

CODY J. SCHUELER, an individual,

                        Plaintiff,             Case No. 2:22-cv-00389-DCN

      v.
                                                PLAINTIFF’S MOTION FOR
FOUR SQUAREBIZ, LLC, a Wyoming                  ATTORNEYS’ FEES AND COSTS
limited liability company, KEITH O.
CREWS, an individual and the associated
marital community, MICAH EIGLER, an
individual and the associated marital
community, and JOHN AND JANE DOES
1-10,

                        Defendants.


      COMES NOW, Plaintiff CODY J. SCHUELER, by and through his attorneys of record,

and hereby respectfully submits the following Motion for Attorneys’ Fees and Costs. This

Motion is made pursuant to Federal Rule of Civil Procedure 54(d), District of Idaho Local

Rule 54.2, and is supported by the accompanying Memorandum of Law, including the

authorities therein. This Motion is further supported by the Memorandum in Support of

Plaintiff’s Motion for Attorneys’ Fees and Costs, Declaration of Andrew M. Wagley, and the


   Plaintiff’s Motion for Attorneys’ Fees        ETTER, MCMAHON, LAMBERSON,
   and Costs—Page 1                              VAN WERT & ORESKOVICH, P.C.
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Declaration of Richard T. Wetmore Re: Reasonable North Idaho Commercial Litigation

Rates, as well as other pertinent portions of the Court File herein.

      As indicated fully in the accompanying Memorandum, an award of $17,184.50 in

reasonable attorneys’ fees and $940.52 in costs should be awarded in favor of Plaintiff against

Defendants Four SquareBiz, LLC (“Four SquareBiz”) and Keith O. Crews, individually and

the associated marital community comprised thereof (“Defendant Crews”). Plaintiff is the

prevailing party in this matter stemming from the breach of the Agreements at issue and

associated commercial transaction.          Plaintiff obtained a $1,199,809.31 Default Judgment

against Defendants Four SquareBiz and Crews.              As such, an award of $18,125.02 in

attorneys’ fees and costs is reasonable and only constitutes approximately 1.5% of the Default

Judgment amount.

      As such, Plaintiff respectfully requests that the Court grant his Motion for Attorneys’

Fees and Costs, and award the same in the amount of $18,125.02, comprised of $17,184.50 in

reasonable attorneys’ fees and $940.52 in costs.

      RESPECTFULLY SUBMITTED this 19th day of September, 2023.

                                                ETTER, McMAHON, LAMBERSON,
                                                  VAN WERT & ORESKOVICH, P.C.


                                                By: /s/ Andrew M. Wagley
                                                   Andrew M. Wagley, ISB #10277
                                                   Samir Dizdarevic-Miller, ISB #11471
                                                   Attorneys for Plaintiff Cody J. Schueler




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